EXHIBIT #5
3/31/22, 11:16 AM         (4) @ThomasMoreSoc on Twitter: "It is illegal to donate to #abortion funds that pay for abortions performed in #Texas. Violators …


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                                          texastribune.org
             Tweet                        Anti-abortion lawyers target those funding the procedure for potentia…
                                          Attorneys who helped design Texas’ novel abortion ban have asked a judge to
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                                                                                                                                      Relevant people
                                        7:20 PM · Feb 23, 2022 · Twitter Web App
                                                                                                                                                @ThomasMoreSoc
                                                                                                                                                @ThomasMoreSoc
                                         3 Retweets    2 Quote Tweets       8 Likes                                                             Restoring respect in
                                                                                                                                                marriage, and religio
                                                                                                                                                1997. We are a natio
                                                                                                                                                law firm that provid
                                                                                                                                                services.

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                                                                                                                                      What’s happening
                                                 Jac @JacUnderATree · Feb 24
                                                                                                                                      War in Ukraine · LIVE
                                                 Replying to @ThomasMoreSoc
                                                                                                                                      Ukrainian government send
                                                 Nowhere in the Bible does it condemn abortion.
                                                                                                                                      buses to evacuate civilians
                                                 Nowhere in the Bible does it mandate Christians to force their beliefs on
                                                                                                                                      Mariupol after Russia agree
                                                 others through theocratic laws.
                                                                                                                                      open a humanitarian corrid
                                                 The abortion "issue" was created by the far right to divide this country.
                                                 It's not about religion or life. It's about power.
                                                                                                                                      #GirlFromPlainville
                                                                           1                     3
                                                                                                                                      Now Streaming on Hulu
                                                                                                                                        Promoted by The Girl From Pla
                                                 atriana @atriana · Feb 24
                                                 Replying to @ThomasMoreSoc                                                               RSVP Magaz…    · March 3
                                                 Not if the donor is out of state.                                                    Jada Pinkett Smith breaks
                                                                                                                                      silence after husband Will
                                                                                                                                      slapped Chris Rock followin
                                                                                                                                      alopecia joke
                                                 MaxDWolf @MaxDWolf · Feb 24
                                                 Replying to @ThomasMoreSoc
                                                                                                                                      Entertainment · Trending
                                                 Fascinating how y'all are already forgetting the "after 6 weeks" part.
                                                                                                                                      Demi Moore
                                                                                                 2                                    5,464 Tweets


                                                                                                                                      Entertainment · Trending
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                                                                                                            Messages
                                                 If prayer is real, it necessarily bears fruit in charity. And charity sets us free
                                                 f     th        tf       f   l         t hi h i l           t   lf L t      h it     Terms of Service Privacy Policy
https://twitter.com/ThomasMoreSoc/status/1496641113305886725?s=20&t=RCVl-VHh3-1XINUhFJPu9A                                                                        1/8
